                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                               October 22, 2015
                              No. 10-14-00276-CR
                                BRYAN CHAMPION
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                        From the 361[st] District Court
                             Brazos County, Texas
                       Trial Court No. 13-05014-CRF-361
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's judgment signed on September 15, 2014 is affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
				Nita Whitener, Deputy Clerk

